      Case 1:22-cv-00007-JRH-BKE Document 3 Filed 02/08/22 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION

 UNITED STATES OF AMERICA,                          )
                                                    )
               Plaintiff,                           )
                                                    )
         v.                                         )   Civil Case No. 122-007
                                                    )
 FUNDS SEIZED FROM WELLS                            )
 FARGO ACCTS. ENDING IN 3693,                       )
 1970, 2039, AND VENMO/PAY PAL                      )
 ENDING IN 2280,                                    )
             Defendant.                             )




                                NOTICE OF FORFEITURE
TO:
      Conway James Rhinehart              Conway James Rhinehart         Conway James Rhinehart
      2894 Lake Erie Drive                3914 Lake Erie Drive           P.O. Box 2003
      Hephzibah, GA. 30815                Hephzibah, GA. 30815           Hephzibah, GA. 30815

      Jeffrey Johnston, Esq.              PayPal FBO                     Wells Fargo Bank, N.A.
      Jeffrey E. Johnston, P.C.           2211 N. 1st Street             Attn: Steve Gilbert
      601 North Belair Square, Suite 10   San Jose, CA. 95131            P.O. Box 1416
      Evans, GA. 30809                                                   MAC D1111-01A
                                                                         Charlotte, NC. 28201


      The enclosed Complaint is sent pursuant to Rule G(4)(b), Supplemental Rules
for Admiralty or Maritime Claims and Asset Forfeiture Actions.

1. DATE OF NOTICE: February 8, 2022

2. FORFEITURE COMPLAINT: On January 20, 2022, the United States of
   America filed a civil complaint (the “Complaint”) seeking forfeiture, pursuant to
   21 U.S.C. § 881 (a)(6) in the United States District Court for the Southern District
   of Georgia against the following defendant property:

              a. Venmo/PayPal Card Holder #5143-7724-0632-2280, VL: $1,833.50

              b. Wells Fargo Bank, N.A., Acct. #1010300971970, VL: $18,585.93

              c. Wells Fargo Bank, N.A., Acct. #9352683693, VL: $26,467.50
      Case 1:22-cv-00007-JRH-BKE Document 3 Filed 02/08/22 Page 2 of 4




             d. Wells Fargo Bank, N.A., Acct. #1927582039, VL: $40.00

3. FILING OF A VERIFIED CLAIM: Pursuant to Supplemental Rule G(5)(a)(ii),
   in order to avoid forfeiture of the defendant property, any person who asserts an
   interest in the defendant property must file a verified claim within thirty-five
   (35) days of the date of this notice, but no later than March 15, 2022.

4. CONTENTS OF VERIFIED CLAIM: Pursuant to Rule G(5)(a), the claim must
   (A) identify the specific property claimed; (B) identify the claimant and state the
   claimant’s interest in the property; and (C) be signed by the claimant under
   penalty of perjury.

5. FILING OF AN ANSWER: If you file a verified claim, you must then file an
   answer to the Complaint or a motion under Rule 12 of the Federal Rules of Civil
   Procedure within twenty (20) days after filing the verified claim.

6. FILING WITH THE COURT / SERVICE ON THE UNITED STATES: The
   verified claim and answer must be filed with the Office of the Clerk, United States
   District Court for the Southern District of Georgia to the attention of Case No.
   CV122-007. The Office of the Clerk is physically located at the United States
   Courthouse, 600 James Brown Boulevard, Augusta, Georgia 30901 with a mailing
   address of P.O. Box 1130, Augusta, Georgia 30903-1130. A copy of the claim and
   any answer or motion must be sent to Xavier A. Cunningham, Assistant United
   States Attorney, P.O. Box 8970, Savannah, Georgia 31412-8970.

Failure to follow the requirements set forth above may result in judgment
by default for the relief demanded in the Complaint. You may wish to seek
legal advice to protect your interests.


      This 8th day of February 2022.


                                       DAVID H. ESTES
                                       UNITED STATES ATTORNEY

                                       /s/ Xavier A. Cunningham
                                       ________________________________
                                       Xavier A. Cunningham
                                       Assistant United States Attorney
                                       New York Bar Number: 5269477
     Case 1:22-cv-00007-JRH-BKE Document 3 Filed 02/08/22 Page 3 of 4




P.O. Box 8970
Savannah, Georgia 31412-8970
(912) 652-4422
      Case 1:22-cv-00007-JRH-BKE Document 3 Filed 02/08/22 Page 4 of 4




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
               Plaintiff,                           )
                                                    )
         v.                                         )     Civil Case No. 122-007
                                                    )
FUNDS SEIZED FROM WELLS                             )
FARGO ACCTS. ENDING IN 3693,                        )
1970, 2039, AND VENMO/PAY PAL                       )
ENDING IN 2280,                                     )
            Defendant.                              )




        CERTIFICATE OF SERVICE TO NOTICE OF FORFEITURE

      This is to certify that I have on this day served the following individuals via

Certified Mail, Return Receipt Requested, at the following addresses:

      Conway James Rhinehart              Conway James Rhinehart            Conway James Rhinehart
      2894 Lake Erie Drive                3914 Lake Erie Drive              P.O. Box 2003
      Hephzibah, GA. 30815                Hephzibah, GA. 30815              Hephzibah, GA. 30815

      Jeffrey Johnston, Esq.              PayPal FBO                        Wells Fargo Bank, N.A.
      Jeffrey E. Johnston, P.C.           2211 N. 1st Street                Attn: Steve Gilbert
      601 North Belair Square, Suite 10   San Jose, CA. 95131               P.O. Box 1416
      Evans, GA. 30809                                                      MAC D1111-01A
                                                                            Charlotte, NC. 28201


      This 8th day of February 2022.

                                                        /s/ Xavier A. Cunningham
                                                        ________________________________
                                                        Xavier A. Cunningham
                                                        Assistant United States Attorney
                                                        New York Bar Number: 5269477
P.O. Box 8970
Savannah, Georgia 31412-8970
(912) 652-4422
